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                 Exhibit A
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                                              Funds of mixing service
                                               (including funds from other users)


                  1 BTC                                                                          0.6879 BTC


                               Receive                                               Withdraw
                               funds at                                             funds from
                              Address B                                              Address C


Mixing User                                                                                                   Mixing User
Send funds from                                                                                                Receive funds
   Address A                                                                                                   at Address D
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Heavydist@gmail.com
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            Mt. Gox
        AurumXchange
        Liberty Reserve
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plasma@plasmadivision.com
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                    Mt. Gox Accounts

Login         Email
volfprius     volf.prius@hotmail.com
roso987341870 plasma@plasmadivision.com
peternfs      nfs9000@hotmail.com
kolbasa       kolbasa99@rambler.ru
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      M247 ‐ Romania
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      M247 ‐ Romania
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